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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



IN RE:                                    )      CASE NO.      16-64206-WLH
                                          )
ROBERT RAMON HARRIS, III,                 )      CHAPTER       7
                                          )
         Debtor.                          )
                                          )


                          NOTICE OF DEPOSIT OF UNCLAIMED
                           FUNDS INTO REGISTRY OF COURT

         Neil C. Gordon, the Trustee of the named estate, hereby shows the following:

         1.    In accordance with 11 U.S.C. Section 347(a), payment has been stopped

on all checks of the estate which remain unpaid, as identified in Paragraph 2. The total

sum of these checks is $5,850.00, which has been deposited with the Court for

disposition pursuant to 28 U.S.C. Sections 2041 et. seq.

         2.    Pursuant to Federal Rules of Bankruptcy Procedure 3011, the last known

name and address of each entity whose final dividend check has not been presented for

payment and the amount that such entity is entitled to be paid from the property of the

estate which has been paid into the Court is as follows:


Name and Last Known Addresses                                  Amount

Robert Ramon Harris, III                                       $5,850.00
c/o Lauren A. Drayton




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The Semrad Law Firm, LLC
Suite 201
303 Perimeter Center North
Atlanta, GA 30346

Robert Ramon Harris, III
141 Tara Blvd.
Loganville, GA 30052


                                       ARNALL GOLDEN GREGORY LLP

                                       /s/ Neil C. Gordon
                                       Neil C. Gordon, Chapter 7 Trustee
                                       State Bar No. 302387


171 17th Street, N.W., Suite 2100
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above Notice of Deposit of
Unclaimed Funds into Registry of Court was sent correctly addressed with proper postage
by First Class U.S. Mail to the following:
    Office of the U.S. Trustee
    362 Richard B. Russell Building
    75 Ted Turner Drive, S.W.
    Atlanta, Georgia 30303

    Lauren A, Drayton
    The Semrad Law Firm, LLC
    Suite 201
    303 Perimeter Center North
    Atlanta, GA 30346

    Jonathan A. Proctor
    The Semrad Law Firm, LLC
    Suite 201
    303 Perimeter Center North
    Atlanta, GA 30346

    Robert Ramon Harris, III
    141 Tara Blvd.
    Loganville, GA 30052


    This 14th day of October, 2019.
                                               /s/ Neil C. Gordon
                                               Neil C. Gordon, Trustee
                                               State Bar No. 302387




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